                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                  KNOXVILLE DIVISION
   INRE:                                              )       3 :09-CV -06          3:09-CV-09
                                                      )       3:09-CV-14            3:09-CV-48
                                                      )       3:09-CV-54            3:09-CV-64
                                                      )       3:09-CV-114           3:09-CV -49 I
                                                      )       3:09-CV-495           3:09-CV-496
                                                      )       3:09-CV-497           3:09-CV-504
   TENNESSEE VALLEY AUTHORITY                         )       3 :09-CV -511         3:09-CV-517
   ASH SPILL CASES                                    )       3:09-CV-528           3 :09-CV -529
                                                      )       3:09-CV-534           3:09-CV-550
                                                      )       3:09-CV-551           3:09-CV-552
                                                      )       3:09-CV-553           3:09-CV-554
                                                      )       3:09-CV-555           3:09-CV-563
                                                      )       3:09-CV-564           3:09-CV-565
                                                      )       3:09-CV-566           3:09-CV-568
                                                      )       3:09-CV-569           3:09-CV-570
                                                      )       3:09-CV-571           3:09-CV-572
                                                      )       3:09-CV-576           3:09-CV-577
                                                      )       3:09-CV-578           3:09-CV-579
                                                      )       3:09-CV-580           3:09-CV -581
                                                      )       3:09-CV-582           3:09-CV-583
                                                      )       3:09-CV-584           3:09-CV-589
                                                      )       3:09-CV-590           3:09-CV -59 I
                                                      )       3:09-CV-592           3:09-CV -593
                                                       )      3:09-CV-594           3 :09-CV-595
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                                                       )      3:09-CV-598           3 :09-CV -602
                                                       )      3:09-CV-603           3:09-CV -604
                                                       )      3:09-CV-605           3: 10-CV-189
                                                       )      3: 1O-CV -190         3: IO-CV -I 91
                                                       )
                                                       )       (V ARLAN/GUYTON)

    PLAINTIFFS' AGREED COORDINATION COMMITIEE FOR COORDINATION OF
                         DEPOSITION DISCOVERY

           Per the Court's Order ofJuly 14,2010, Plaintiffs' counsel in the above-captioned cases

   have conferred and formed a Plaintiffs' Coordination Committee for coordination of deposition

   discovery of fact witnesses to be produced by defendants, TVA, Geosyntec Consulting, Inc. and

   WorleyParsons Corp. (hereinafter "defendant depositions"). Among other things, this




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   Committee is meant to address the coordination and conduct of defendant depositions and related

   motion practice.

          In furtherance of these objectives and the Court's Order, counsel for the various Plaintiffs

   have agreed that membership on the Committee shall consist of one attorney from each of the

   initial filed cases at 3:09-CY-06, 3:09-CY-09, 3:09-CY-14, 3:09-CY-48, 3:09-CY-54 and 3:09­

   CY -114, plus one attorney on behalf of the remaining filed cases. Each attorney on the

   Committee will have one vote on the Committee, which shall conduct itself under simple

   majority rule. The Committee shall be comprised of:

                  1) Elizabeth Alexander, Esq. or a designee of her office (counsel in Giltnane);

                  2) Gordon Ball, Esq. or a designee of his office (counsel in Mays);

                  3) Paul D. Brandes, Esq. or a designee of his office (counsel in Long);

                  4) David Byrne, Esq. or a designee of his office (counsel in Blanchard);

                  5) Jeff Friedman, Esq. or a designee of his office (counsel in Scofield/Raymond);

                  6) Robin Greenwald, Esq. or a designee of her office (counsel in Auchard); and

                  7) John Agee, Esq. or a designee of his office (counsel for the majority of the

                      later filed individual cases)

          The Committee shall be responsible for:

                  1) Determining defense fact witnesses to be deposed, scheduling those

                      depositions based on the availability of the defense attorney producing the

                      witness and the members of the Committee; designating counsel to lead the

                      questioning in the depositions; and determining and presenting to the Court

                      and opposing parties (in briefs, oral argument or other such fashion as may be

                      appropriate) the position of the Plaintiffs on all defense deposition matters.




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                  2) Creating and administering a common fund bank account into which each law

                      finn on behalf of the various Plaintiffs in the above-captioned cases shall pay

                      a sum set by the Committee for purposes of paying invoiced costs and fees of

                      court reporters and videographers associated with defense depositions and/or

                      the videotaping thereof.

                  3) Delegating specific tasks to and monitoring the activities of the various

                      Plaintiffs' counsel concerning the conduct of defense depositions and any

                      related motion practice.

                  4) Entering into expressly authorized agreements or stipulations with the defense

                      attorneys, either collectively or separately as appropriate, where necessary for

                      the conduct of defense depositions and/or court proceedings relating thereto.

          Finally, it is noted that Chesney, et al. v. TVA, et at., 3:09-cv-09, is the only case of the

   various filed actions to include defendants, WorleyParsons and Geosyntec Consulting. Thus, per

   paragraph (3) of the Court's Order, for purposes of filing documents with the Court relating to

   common discovery issues, all such documents shall be electronically filed with the Court in

   Chesney, et at. v. TVA, et at., 3:09-cv-09.



                                  IT IS SO ORDERED.

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                                                            LJ


                                  mDGE




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